Case No. 1:11-cr-00355-MSK Document 43 filed 10/17/11 USDC Colorado pg 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Honorable Marcia S. Krieger

Criminal Action No. 11-cr-00355-MSK

UNITED STATES OF AMERICA,

       Plaintiff,

v.
     1. WAUNITA WEINGART
     2. JOHN PHILLIP GALLEGOS
     3. ALOIS CRAIG WEINGART

       Defendants.


                          ORDER GRANTING UNOPPOSED MOTION
                           TO MODIFY CONDITIONS OF RELEASE



       THIS MATTER is before the Court following a Motion Hearing held October 14, 2011,

wherein the Court granted Defendant John Phillip Gallegos’ Unopposed Motion to Modify

Conditions of Release (#37). In accordance with the Court’s ruling,

       IT IS ORDERED that:

               1.     Mr. Gallegos’ United States Passport, previously surrendered to and in the

       custody of the United States District Court for the Western District of Washington, shall

       be released to Mr. Gallegos or his counsel;

               2.     Mr. Gallegos is permitted to travel to Alaska and Hawaii, and to

       destinations served by Alaska Airlines in Canada and Mexico for the purpose of work

       assignments by Alaska Airlines, only; and,

               3.     Mr. Gallegos shall report to his supervising probation officer all

       international flight assignments when such assignments are made, his itinerary, any
Case No. 1:11-cr-00355-MSK Document 43 filed 10/17/11 USDC Colorado pg 2 of 2




      changes to his itinerary that occur while on assignment, and to notify his probation

      officer immediately upon his return to the United States.

      DATED this 17th day of October, 2011.

                                                   BY THE COURT:




                                                   Marcia S. Krieger
                                                   United States District Judge
